
In re Victorian, Alvin; — Plaintiff; Applying for Supervisory arid/or Remedial *392Writs, Parish of Pointe Coupee, 18th Judicial District Court Div. A, Nos. 61,171, 50,698, 56,555, 54,124; to the Court of Appeal, First Circuit, No. 2006 KW 2051.
Denied. La.C.Cr.P. art. 980.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
